                                                               DOCUMENT 1
                   Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 1 of 23
                                                                        ELECTRONICALLY FILED FILED
                                                                                                           lm} }          11/27/2018 7:402019
                                                                                                                                          PM Jan-03 AM 10:18
                                                                                                                   01-CV-201 8-90475 LOO
                                                                                                                                  U.S. DISTRICT COURT
                                                                                                    Cai            CIRCUIT COURT OF
State of Alabama
                                                      COVER SHEET                                                                     N.D. OF ALABAMA
                                                                                                              JEFFERSON COUNTY. ALABAMA
Unified Judicial System
                                        CIRCUIT COURT - CIVIL CASE                                  01         ANNE-MARIE ADAMS, CLERK

                                           (Not For Domestic Relations Cases)                       Date or Niing:              Judge uoae:
Form ARCiv-93      Rev. 9/18
                                                                                                    11/27/2018


                                                   GENERAL INFORMATION

                               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

                                   JEREMY R. TOUMEY v. BIRMINGHAM URBAN AIR, LLC

First Plaintiff:       Business            individual                 First Defendant: 0 Business                   I   I Individual
                    ^Government            Other                                               Government           other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                  OTHER CIVIL FILINGS (cont'd)

       WDEA - Wrongful Death                                        MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
                                                                            Enforcement of Agency Subpoena/Petition to Preserve
  0 TONG - Negligence: General
  1   I TOMV - Negligence: Motor Vehicle                            CVRT - Civil Rights
  I   I TOWA - Wantonness                                  I       I COND - Condemnation/Eminent Domain/Right-of-Way
  n TOPL - Product Liability/AEMLD                                  CTMP - Contempt of Court
  I   I TOMM - Malpractice-Medical                         I       I CONT - Contract/Ejectment/Writ of Seizure
  I   I TOLM - Malpractice-Legal                           I       I TOCN - Conversion
  I   I TOOM - Malpractice-Other                           I       I EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                            Injunction Election Contest/Quiet Title/Sale For Division
  I   I TBFM - Fraud/Bad Faith/Misrepresentation
       TOXX - Other:                                                CVUD - Eviction Appeal/Unlawful Detainer
                                                                    FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                              FORF - Fruits of Crime Forfeiture
  I   I TOPE - Personal Property                                    MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
  I   I TORE - Real Properly                                        PFAB - Protection From Abuse
                                                           I       I EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS
                                                           I       I FELA- Railroad/Seaman (FELA)
  I   I ABAN - Abandoned Automobile
                                                                    RPRO - Real Property
  I   I ACCT - Account & Nonmortgage
                                                           I       I WTEG - Will/Trust/Estate/Guardianship/Conservatorship
  I   I APAA - Administrative Agency Appeal
                                                           I       I COMP - Workers' Compensation
  I   I ADPA- Administrative Procedure Act
                                                                    CVXX - Miscellaneous Circuit Civil Case
  I   I ANPS - Adults in Need of Protective Services

ORIGIN:       F 0 INITIAL FILING                               A       APPEAL FROM                                O        OTHER
                                                                       DISTRICT COURT

              R      REMANDED                                  T       TRANSFERRED FROM
                                                                       OTHER CIRCUIT COURT

                                                                            Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                  0YES 0NO                     jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     0 MONETARY AWARD REQUESTED                       0NO MONETARY AWARD REQUESTED

ATTORNEY CODE:

         DEN041                                    11/27/2018 7:40:32 PM                                  /si GARRETT PARKER DENNIS
                                               Date                                                   Signature of Attorney/Party filing this form




MEDIATION REQUESTED:                           yes 0 NO UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                             YES0NO

                                                                                                                                       EXHIBIT


                                                                                                                                        k
                Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 2 of 23

            VgHOj,


-
o           £ rfi W\fc                                AlaFile E-Notice
        //-               j*




    J           fuliiiu
                               T
    >                          V
               in m
        I
              Of At>
                                                                                        01-CV-201 8-904751. 00



To:         BIRMINGHAM URBAN AIR, LLC
            1242 PINEBROOK CIRCLE
            AUBURN, AL, 36830




                                   NOTICE OF ELECTRONIC FILING

                                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA


                                     JEREMY R. TOUMEY V. BIRMINGHAM URBAN AIR, LLC
                                                      01-CV-2018-904751 .00


                                    The following complaint was FILED on 11/27/2018 7:41:05 PM




             Notice Date:           11/27/2018 7:41:05 PM




                                                                                         ANNE-MARIE ADAMS
                                                                                      CIRCUIT COURT CLERK
                                                                              JEFFERSON COUNTY, ALABAMA
                                                                              JEFFERSON COUNTY, ALABAMA
                                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                                       BIRMINGHAM. AL, 35203

                                                                                                 205-325-5355
                                                                                anne-marie.adams@alacourt.gov
            Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 3 of 23


State of Alabama
                                                    SUMMONS                                          Court Case Number
Unified Judicial System
                                                                                                     01 -CV-201 8-904751 .00
FormC-34    Rev. 4/201 7                                - CIVIL -

                              IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                                  JEREMY R. TOUMEY V. BIRMINGHAM URBAN AIR, LLC

  NOTICE TO: Birmingham urban air, llc, 1202 pinebrook circle, auburn, al 36830
                                                              (Name and Address of Defendant)

  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER. EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  GARRETT PARKER DENNIS
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 3626 CLAIRMQNT AVE. S., BIRMINGHAM. AL 35222
                                                                       (Addmss(es) of Ph)inlitf(s) or Attornay(s)]

  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.

               TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                                PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
  0 Service by certified mail of this Summons is initiated upon the written request of JEREMY R. TOUMEY
     pursuant to the Alabama Rules of the Civil Procedure.                                                                 [Name(s)]

           11/27/2018 7:41:05 PM                                 1st ANNE-MARIE ADAMS                                By:
                     (Date)                                              (Signature of Clerk)                                     (Name)


  0 Certified Mail is hereby requested.                         Isl GARRETT PARKER DENNIS
                                                                (Plaintiffs/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on
                                                                                                          (Date)

  0 I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                        County,
                      (Name of Person Served)                                                   (Name of County)

  Alabama on
                                   (Date)

                                                                                                     (Address of Server;

  (Type of Process Server)                      (Sen/er's Signature)



                                                (Server's Printed Name)                               (Phone Number of Server)
     Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 4 of 23
                                           DOCUMENT 2
                                                                                  ELECTRONICALLY FILED


                                                                          tP          11/27/2018 7:40 PM
                                                                                   0 1 -CV-201 8-90475 1 .00
                                                                                   CIRCUIT COURT OF
                                                                              JEFFERSON COUNTY, ALABAMA
                                                                               ANNE-MARIE ADAMS, CLERK

           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA


JEREMY R. TOUMEY                               )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       CASE NO.:
                                               )
                                               )
BIRMINGHAM URBAN AIR, LLC                      )


[FICTITIOUS DEFENDANTS: No. 1, whether singular or plural, that entity or those entities who
or which had the duty to maintain the cleanliness and safe condition of the flooring at the store in
question in this lawsuit; No. 2, whether singular or plural, that entity or those entities who or
which had a duty to warn and failed to warn had a duty to issue and failed to issue or issued
inadequate warnings or instructions, regarding a condition that was hazardous to Jeremy Tourney
and other patrons in the store in question in this lawsuit; No. 3, whether singular or plural, that
entity or those entities who or which had a duty to inspect the premises in question and at issue
in this lawsuit for hazards, hidden defects or dangerous conditions on or about the flooring
materials or floor used for travel by the store patrons in the store in question and at issue in this
lawsuit; No. 4, whether singular or plural, that entity or those entities who or which placed,
allowed or caused the hazard to be present on the floor in question and at issue in this lawsuit
and was hazardous and caused injury and damages to the above-named Jeremy Tourney; No. 5,
whether singular or plural, that entity or those entities which provided general liability or
premises liability or medical payment coverage to the store in question and at issue in this
lawsuit; No. 6, whether singular or plural that entity or those entities who or which conducted
safety inspections or analyses or provided consulting services pertaining to the flooring materials
present in the store in question and at issue in this lawsuit; No. 7, whether singular or plural, that
entity or those entities who or which had a duty to insure or ensure the safety and security of
Plaintiff, Jeremy Toumey, while at the premises involved in the occurrence made the basis of
this suit; No, 8, whether singular or plural, that entity or those entities who or which were
involved to any degree in providing safety and security to Plaintiff in connection with the
occurrence made the basis of Plaintiff s complaint; No. 9, whether singular or plural, that entity
or those entities who or which controlled and/or had a duty to control the premises involved in
the occurrence made the basis of this lawsuit at the time of or at any time before said occurrence
which caused injury and damage to Plaintiff and which is at issue and the basis of this lawsuit;
No. 1 0, whether singular or plural, that entity or those entities who or which controlled or had the
right to control the access or ingress and/or egress to the premises involved in the occurrence
made the basis of this lawsuit at the time of said occurrence; No. 11, whether singular or plural,
that entity or those entities other than those entities described above whose negligence,
wantonness, willfulness, or other wrongful conduct caused or contributed to cause the occurrence
made the basis of this lawsuit; No. 12, whether singular or plural, that entity or those entities
which reinsured or provided excess coverage; No. 13, whether singular or plural, that entity or
those entities other than those entities described above, which is the successor in interest of any
of those entities described above;
                                 No. 14, being that person, firm, partnership or corporation
who contracted with any named defendant to provide training or supervision of its employees in
   Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 5 of 23
                                            DOCUMENT 2




the proper maintenance of its premises as alleged herein;          No. 15, being that person, firm,
partnership or corporation who owned or operated the premises causing the injuries to Plaintiff
as alleged in the complaint; No. 16, being that person, firm, partnership or corporation who
contracted to any named defendant to provide training or supervision to its employees in the
proper maintenance of its premises as alleged herein; No. 17, being the person, firm, partnership
or corporation who is a successor or predecessor in interest to any named or fictitiously
identified defendant; No. 18, being the person, firm, partnership or corporation charged with the
overall hiring, training and supervision of the employees or contractors who or which were
charged with the duty or contracted to assume said duty of cleaning, inspecting, maintaining, and
operating the section or department of the store in question and at issue in this lawsuit and whose
breach of duty caused or contributed to cause the injuries and damages to Plaintiff, Jeremy
Tourney, as alleged in this lawsuit; Plaintiff avers that the identities of the Fictitious Party
Defendants are otherwise unknown to Plaintiff at this time, or if their names are known to
Plaintiff at this time, their identities as proper party Defendants are not known to Plaintiff at this
time, but their time names will be substituted when ascertained],
                                               )
       Defendants.                             )



                                           COMPLAINT




                                      PARTIES AND VENUE


        I.      Plaintiff, Jeremy R. Toumey, is an individual resident citizen of the State of
Alabama and is over the age of nineteen (1 9) years of age.


       2.       Defendant, Birmingham Urban Air, LLC is a foreign corporation doing business
in the State of Alabama.


        3.     Fictitious Defendants, described above as numbers one (1) through eighteen (18),
are those persons or entities whose names will be substituted upon learning their true identities.


        4.      Venue is proper in Jefferson County pursuant to Ala.            Code   §   6-3-2 (a)(3)
considering that the Plaintiff is a resident of Jefferson County and the occurrence giving rise to this
suit occurred within the County.


                                   FACTUAL BACKGROUND


        5.      On or about the 27lh day of November 2016, Plaintiff was a customer of
Birminham urban Air, LLC located at 800 Greensprings Hwy, Homewood, AL 35209.


        6.      While jumping and using the premises, in the way it was intended to be used, the
Plaintiff was severally injured when he fell on an area of the premises that was not adequately
padded or otherwise hazardous.




                                                   -2-
    Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 6 of 23
                                              DOCUMENT 2




          7.     The impact from the fall caused the Plaintiff to suffer the following injuries and
damages:


                  (a)     He suffered injuries to various portions of his body, including but not
                          limited to: his knee;


                  (b)     He suffered aggravations of pre-existing condition(s);


                  (c)     He has experienced and continues to experience pain and suffering and is
                          reasonably certain to experience pain and suffering in the future;


                  (d)     He has experienced and continues to experience mental anguish and is
                          reasonably certain to experience mental anguish in the future;


                  (e)     He was permanently injured, disfigured and damaged;


                  (0      He was caused to incur personal injury medical expenses for treatment
                          from various doctors, physicians, and hospitals;


                  (g)     He was caused to incur out-of-pocket medical expenses;


                  (h)     He has lost wages and earning capacity; and


                  (0      He is reasonably certain to incur personal injury medical expenses in the
                          future;


                         COUNT PINE- NEGLIGENCE. AND WANTONNESS

          8.      Plaintiff re-alleges all preceding paragraphs of the Complaint as if fully set forth
herein.


       9.   On or about the 27th day of November 22016014, Plaintiff was a patron of
Birmingham Urban Air, LLC and therefore qualifies as a business invitee.


          10.     Defendant Birmingham Urban Air, LLC and one or more of the fictitious party
defendants          and described hereinabove (hereinafter referred to as "Defendants"),
                listed
negligently, recklessly and/or wantonly created a hazardous area for its patrons to jump and
otherwise use Defendant's premises.


          11.     Defendants knew, have known, that injury was likely to occur as a result of the
condition of its premises.     Additionally, Defendants allowed the premises to become, and
remain, hazardous with a conscious disregard for the safety of customers.

          12.     As a result of Defendants' negligence, wantonness and/or recklessness, Plaintiff
fell to the ground and suffered injuries as described above, herein.




                                                   -3-
    Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 7 of 23
                                            DOCUMENT 2




        WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment against
Defendant Birmingham Urban Air, LLC and Fictitious Party Defendants listed and described in
the caption hereinabove, for general and compensatory damages that the court may determine,
together with interest from the date of the injury plus the costs of this action. Further, Plaintiff
requests that the court render a verdict for Plaintiff and against each Defendant, and that it award
punitive damages to Plaintiff in an amount which will adequately reflect the enormity of the
Defendants' wrongful acts and/or omissions and which will effectively prevent other similar
wrongful acts/omissions.


                           COUNT TWO - PREMISES LIABILITY


          13.   Plaintiff re-alleges all preceding paragraphs of the Complaint as if fully set forth
herein.


          14.   On or about the 27th day of November 2016, Plaintiff was a patron of the
Defendant and therefore qualifies as a business invitee.


        15.    Defendants negligently, recklessly and/or wantonly caused or allowed an
inadequately padded section to remain upon the floor in an area that was used by its patrons or
invitees to move around the premises and jump, causing Plaintiff to fall and suffer injury, as
described above, herein.


          16.   At the aforesaid time and place, Defendants were the owners or lessees of the
property and as such had a duty and responsibility to provide Plaintiff a safe place to jump and
otherwise use the premises. If any defects in their owned or leased premises existed, Defendants
had the duty to warn its patrons and/or invitees of hazards of which it/they knew, or should have
known in die exercise of due care, were not easily discoverable by the invitees. Defendants
negligently, wantonly, recklessly and/or willfully breached these duties by failing to warn Plaintiff
of the hazard and/or defect which was known to them or which they negligently failed to detect in
their use, operation and maintenance of and upon the premises. Said negligent, wanton, reckless
and/or willful conduct was a proximate cause of Plaintiff s injuries and damages.


       17.     Defendants were owners or lessees of the property at issue and, as such, said
defendants had the right to and did control the conditions, methods and manner in which the
premises was inspected, maintained and configured and the flooring materials, cleaning materials,
polishing materials, methods and schedule for cleaning, inspecting and maintaining said floors
and for establishing patterns and routes for its patrons and/or invitees to ambulate and/or travel
around and about the premises therein and about said store and premises at the time and place of
the occurrence made the basis of Plaintiffs complaint and negligently and/ or wantonly caused or
allowed Plaintiff to be injured as a result of the breach of the duties that Defendants owed to
Plaintiff in causing or allowing the floors upon which Plaintiff fell to be unreasonably hard
and/or hazardous due to the lack of padding and/or construction of the flooring and causing a
hazard, either in and of itself or in conjunction with the cleaning, polishing or other substances
used upon the floor or through the schedule of said cleaning or lack of said scheduled cleaning.
Defendants negligently, wantonly, recklessly and/or willfully failed to properly control the
conditions, methods and manner in which the floor was maintained and presented to the patrons




                                                -4-
   Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 8 of 23
                                            DOCUMENT 2




or invitees for their use in ambulating and/or traveling about the store as they shopped and said
negligent, wanton, reckless and/or willful conduct was a proximate cause of Plaintiffs injuries
and damages.


          18.  Defendants negligently, wantonly, recklessly and/or willfully caused or allowed
the area with a lack of padding to remain in a main travel area and failed to remedy the
hazardous situation and/or address the unreasonably dangerous area, and Defendants had actual
knowledge of the hazardous condition or said hazardous condition had existed for such an
unreasonable length of time so as to create a presumption of knowledge of such hazardous area
on the part of said Defendants.


        WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment against
Defendant Birmingham Urban Air, LLC and Fictitious Party Defendants listed and described in
the caption hereinabove, for general and compensatory damages that the court may determine,
together with interest from the date of the injury plus the costs of this action. Further, Plaintiff
requests that the court render a verdict for Plaintiff and against each Defendant, and that it award
punitive damages to Plaintiff in an amount which will adequately reflect the enormity of the
Defendants' wrongful acts and/or omissions and which will effectively prevent other similar
wrongful acts/omissions.


                COUNT THREE - NEGLIGENT. RECKLESS. AND WANTON
                                  SUPERVISION AND TRAINING


          19.   Plaintiff re-alleges all preceding paragraphs of the Complaint as if fully set forth
herein.


          20.   Defendants were under an obligation and duty to train their employees to make
sure that there are not hazards present so as not to cause any unreasonable dangers for customers
of the store.


        21.    Defendants were under an obligation and duty to train and supervise store
employees to properly inspect the commercial areas or areas accessible to their patrons or
invitees so that there are no dangerous conditions not readily discoverable to their patrons or
invitees.

          22.   Defendants   negligently,   wantonly,   and   recklessly   failed   to   properly   train
employees to inspect and to keep the store area free and clear of dangerous conditions.
Defendants' failure to properly train its employees directly resulted in Plaintiffs injuries as
described herein.


       WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment against
Defendant Birmingham Urban Air, LLC and Fictitious Party Defendants listed and described in
the caption hereinabove, for general and compensatory damages that the court may determine,
together with interest from the date of the injury plus the costs of this action. Further, Plaintiff
requests that the court render a verdict for Plaintiff and against each Defendant, and that it award
punitive damages to Plaintiff in an amount which will adequately reflect the enormity of the




                                                -5 -
    Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 9 of 23
                                           DOCUMENT 2




Defendants' wrongful acts and/or omissions and which will effectively prevent other similar
wrongful acts/omissions.


                        COUNT FOUR - FICTITIOUS DEFENDANTS


          23.   Plaintiff re-alleges all preceding paragraphs of the Complaint as if fully set forth
herein.


          24.   Fictitious   Party Defendants    identified and described    hereinabove, whether
singular or plural, are those other persons, firms, corporations, partnerships or entities whose
wrongful conduct caused or contributed to cause the injuries or damages to Plaintiff.


          25.   As a proximate result of said negligence, intentional conduct, willfulness and/or
wantonness of said Defendants, Plaintiff was caused to be injured and damaged as described
above, herein.


          WHEREFORE,         PREMISES    CONSIDERED,        Plaintiff demands judgment       against
Fictitious Party Defendants listed and described in the caption hereinabove, for general and
compensatory damages that the court may determine, together with interest from the date of the
injury plus the costs of this action. Further, Plaintiff requests that the court render a verdict for
Plaintiff and against each Defendant, and that it award punitive damages to Plaintiff in an
amount which will adequately reflect the enormity of the Defendants' wrongful acts and/or
omissions and which will effectively prevent other similar wrongful acts/omissions.


                                                Respectfully Submitted,




                                                Garrett Dennis (DEN041)
                                                Attorney for Plaintiff




pF CPVNSE^


SHUNNARAH INJURY LAWYERS, P.C.
221 Longwood Dr. SW
Huntsville, AL 35801
Phone:          (205)983-8144
Facsimile:      (205) 983-8444
Email:          adennisftcasi lnc.com




                                                 -6-
   Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 10 of 23
                                        DOCUMENT 2




             REQUEST FOR SERVICE BY CERTIFIED MAIL BY CLERK


       Pursuant to ARCP 4.1 and 4.2, Plaintiff requests that the Clerk direct service of the

foregoing "Summons and Complaint" by certified mail, addressed as follows:


Birmingham Urban Air, LLC
Attn: Frank Boyd
1242 Pinebrook Circle
Auburn, AL 36830




                                           Garrett Dermis (DEN041)
                                          Attorney for Plaintiff




                                            -7-
                                                 DOCUMENT 5
         Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 11 of 23



 W                   $
                                      NOTICE TO CLERK
      KM                       REQUIREMENTS FOR COMPLETING SERVICE BY
          n.ojiiiM                  CERTIFIED MAIL OR FIRST CLASS MAIL




                         IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                            JEREMY R. TOUMEY V. BIRMINGHAM URBAN AIR, LLC


                                                                               01-CV-2018-904751 -00

To:   CLERK BIRMINGHAM
      clerk.birmingham@alacourt.gov




TOTAL POSTAGE PAID: $7.09


Parties to be served by Certified Mail - Return Receipt Requested

BIRMINGHAM URBAN AIR, LLC                                                       Postage: $7.09
1242 PINEBROOK CIRCLE
AUBURN, AL 36830




Parties to be setved by Certified Mail - Restricted Delivery - Return Receipt Requested




Parties to be served by First Ciass Mail
                                                                   DOCUMENT 5
Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 12 of 23




                                       U.S. Postal Service"

                               ru
                                       CERTIFIED MAIL® RECEIPT
                               c       Domestic Mail Only
                               r-
                              a-

                              n-



                              £     Extra Services d Fees (ct^ot &xk                 aaapfroprtm)

                              Q      U Fioeuru fl*c*lpt (hardcopy)         *
                              a        Return Htedpt (electrortc)          0
                                     QCertiflacl Mall H^ytrtcNjd Detrvwy   $ _                                   Poatmai*
                              tn
                                                                                                                  Hera
                              a      pAckittaignaturvRequrred              %
                                     QArkit ggmuuni R^trtrtot&d Dtffvwy S        '
                              a     Footage ~                                               -—
                             cr

                             ru rarai dostnja and Fern
                             _      |_
                             ^      Sent 7b             "      "     ——
                             HI
                             a      sinii 'amrApc m; 'orPomm
                             r~

                                                                -


                                    P5 F°rn> agQ0' APril 2'J10 »S>.                                  Seg Revwae lor Instructions




  r                                                                                                                                                          T
                                                                                          t.v v/Pi.tft' 7>*/£ S6C 'lOn ON oZUvERy
      SENDER         COMPLETE THIS SECTION
                                                                                          A. Signature
         Complete Items 1, 2, and 3.
                                                                                                                                                Agent
         Print your name and address on the reverse                                       X                                                     Addressee
         so that we can return the caret to you.                                                                                       C. Date of Delivery
                                                                                          0, Received by (Printed Name)
         Attach this card to the back of the mailplece,
         or on the front If space permits.
      1, Article Addressed to:                                                              D. la delivery address different from Item 17        Yea
                                                                                               If YES, enter delivery address below;             No
                                                                                                                                                               i
                      BIRMINGHAM URBAN AIR, LLC
                      1242 PINEBROOK CIRCLE                                                                                                   0
                      AUBURN, AL 36830

                                                                                         (VjOl^^b^757 ^                                                        i


                                                                                        3. Service Type                               Priority Moil Express®
                                                                                                                                   P Registered Mall™

          9590940244248248900337
                                                                                        a Adult Signature
                                                                                            Adutt Signature Restricted Deffvety    Raglstored Mall Reotifctert


             9590 9402 4424 8248 9003 37                                                I   Certified II®
                                                                                            Certified Mall Restricted Delivery
                                                                                            Cofeet on Delivery
                                                                                                                                      OeWcry
                                                                                                                                   JH Return Receipttar
                                                                                                                                    'Meretvndlse
                                                                                     —I H              Ddivcfy terricred DeSwy     Q Signature Confirmation™
      2a Arik^A ftlmafaOK flis/rKsfpr frrifM-00g»/frs& loKai1                                                                        Signature Confirmation
                                                                                                    Moll

              7016 aa^D                                     5737 476a            MaH Restricted Dettvery
                                                                   — I— (over stjOO)
                                                                                                                                     Reatilcted Dofivery
                                                                                                                                                                   !


                                                                                                                                  Domestic Return Receipt j
   ; PS Form 3811 .July 2015 PSN 7530-02-000-9053
                  Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 13 of 23

               USPS TRACKING#
          •M
                                                                                     First-Class Mail
                                                                                     Postage & Fees Paid


   9590940244248248900337
  R5H0
                  A ~




                         • S24a im 37
                                                                                     USPS
                                                                                     Permit No. G-10




United States            • Sender, Please print your name, address, and ZIP+4® in this box*
Postal Service

           *




         Filed                 £ "ANN&MARIE ADAMS, CLERK
     CIRCU8T Civil DiVis:jS0,f 400 JEFF CO COURTHOUSE
         t ...      „             716 RICHARD ARRIN6T0N JR BLVD., NO.
         lib, 0 7 1013            BIRMINGHAM, ALABAMA 35'03
      anni-marie! adams
                 CLERK
                              Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 14 of 23
f
    SENDER: COMPiE 7f THIS SECTION                                                 :UJLETE THIS SEC HON ON DELIVERY

                                                                                      . 1
                                                                             |/M
       Complete Items 1 , t, &nd %                             .      * t»
                                                                                                                                       Agent
       Print your name and eddress on theVeverse
       so that we can return the card to you.                                e\
                                                                              B. deceived by {Printed Name)
                                                                                                                                       Addressee
                                                                                                                             C. Date of Delivery
i      Attach this card to the back of the mailpiece,
j      or on the front if space permits.
' 1. Articie AdcJressed to:                                                   D, Is delivery address different from item 1? D Yes
                                               .   A

                                                                                   If YES, enter delivery address below:               No

                  BIRMINGHAM URBAN AIR, LLC
                  1242 PINEBRQOK CIRCLE                                                                                               01
                  AUBURN, AL 36830



                                                                            3, Service Type                               Priority Mall Express®


       9590940244248248900337                                                 Adult Signature
                                                                            Q Adult Signature Restricted Dsltvery
                                                                         J9 Certified Mail®
                                                                                                                        D Registered Mail™
                                                                                                                        p Real stared Malt Restricted
                                                                                                                           Delivery
          9590 9402 4424 8248 9003 37                                         Certified Mail Restricted Delivery       jt Return Receipt for
                                                                              Collect on Delivery                          Merchandise
                                                                            n rwkvf         [jgiiYgpy Restricted Delivery ^ Signature Confirmation™
    2. ArtldP N? irnhdr* {Transfar few eowt^
                                                                   iinrin             Mall                                Signature Confirmation
           7D1S 22^0 DODO 5737 4 vuC                                                  Mai! Restricted Delivery             Restricted Delivery
                    .                                  1   1            r     tovef $ot)Q)
$
j PS Form 381 1 , July 2015 PSN 753G-02-000-S053                                                                      Domestic Return Receipt
usrs.conKg) - USPS 1 racking®) Results                                                         Page 1 of 3
                 Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 15 of 23

                                               FAQs > (https://www.usps.com/faqs/uspstracking-faqs.htm)
  USPS Tracking


                                       Track Another Package +




                                                                                             Remove X
  Tracking Number: 70182290000057374782


  Your item was delivered at 9:26 am on December 4, 2018 in AUBURN, AL 36830.




        Delivered
  December 4, 2018 at 9:26 am
  Delivered
  AUBURN, AL 36830                                                                                     Tl
                                                                                                      (D
                                                                                                      (D
                                                                                                      Q.
  Get Updates V                                                                                       CT
                                                                                                      03
                                                                                                      O
                                                                                                       7T




    Text & Email Updates                                                                         V




     Tracking History



     December 4, 2018, 9:26 am
     Delivered
    AUBURN, AL 36830
    Your item was delivered at 9:26 am on December 4, 2018 in AUBURN, AL 36830.




     December 3, 2018, 12:57 pm
     Notice Left (No Authorized Recipient Available)
    AUBURN, AL 36830




     December 3, 2018

     In Transit to Next Facility                                                             EXHIBIT

                                                                                             B
                                                                                        I


https://toolsiusps.com/go/TrackConfirmAction?tLabels=701 82290000057374782                     12/14/2018
USPS.com® - USPS Tracking® Results
               Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 16 of 23        Page 2 of 3

     November 30, 2018, 12:46 pm
     Departed USPS Regional Facility
     MONTGOMERY AL DISTRIBUTION CENTER




     November 30, 2018, 9:08 am
     Arrived at USPS Regional Facility
     MONTGOMERY AL DISTRIBUTION CENTER




     November 29, 2018, 10:10 pm
     Arrived at USPS Regional Facility
     BIRMINGHAM AL DISTRIBUTION CENTER




                                                                                         \/
     Product Information




                                             See Less /\                                      -n
                                                                                              (D
                                                                                              <D
                                                                                              Q.
                                                                                              O"
                                                                                              0)
                                                                                              o
                                                                                              XT




                         Can't find what you're looking for?

                  Go to our FAQs section to find answers to your tracking questions.




                     FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)




https://tools.usps.com/go/TrackConfirmAction?tLabels=701 82290000057374782             12/14/2018
USPS.com® - USPS Tracking® Results                                                          Page 3 of 3
              Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 17 of 23




            The easiest tracking number is the one you don't have to know.


  With Informed Delivery®, you never have to type in another tracking number. Sign up to:


  * See images* of incoming mail.


  • Automatically track the packages you're expecting.


  • Set up email and text alerts so you don't need to enter tracking numbers.


  • Enter USPS Delivery Instructions™ for your mail carrier.




                                               Sign Up


                                (https://reg.usps.com/entreg/RegistrationAction_input?              -n
                                                                                                    (D

  *NOTE: Black and white (grayscale) images show the outside, front of letter-sized envelopes an<£
                                                                                                    Q)
  mailpieces that are processed                                                                     O




https://tools.usps. com/go/TrackConfirmAction?tLabels=701 82290000057374782                 12/14/2018
         T—




f                              Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 18 of 23


    SENDER: COMPUTE THIS SECTION
                                                                            7T
                                                                   IA1
       Compete item* 1, t, ind lr


i
       Print your name and address "on the 'reverse '
       so that we can return the card to you.
      Attach this card to the back of the mailpiecar
                                                                   I\B. Received by {Printed Name)
                                                                                                                           Agent
                                                                                                                           Addressee
                                                                                                                 C. Date of Delivery

i     or on the front If space permits.
' 1. Article Addressed to:                                           D. Is delivery address different from item 1 ? CI Yes
                                           .   A

                                                                         If YES, entar delivery address below:             No
                  BIRMINGHAM URBAN AIR, LLC
                  1242 PINEBROOK CIRCLE                                                                                  0
                  AUBURN, AL 36830



                                                                   3, Service Type                            Priority Mall Express®


       9590940244248248900337                                      D Adult Signature
                                                                     Adult Signature Restricted IMver/
                                                                                                            0 Registered MaF*
                                                                                                              Registered Mall Restricted

          9590 9402 4424 8248 9003 37                           I    Certified Mail®
                                                                     Certified Mail Restricted Deflveiy
                                                                     ColtectonDflriwy
                                                                                                              Delivery
                                                                                                            * Return Receipt -for
                                                                                                               MerehOKflw
                                                                   n fvn=-ton Dedvwy Restrfctsd Dslfvaty                 Confirmation1'"
    2. Artteta Wt imHor /7ten*for few
                                                                             Mall                             Signature Confirmation

           7016 52^0 DDD0 5737 4765                                  taw sdto
                                                                             Mall Restricted DeHverv           Restricted Delivery
                                                               I
*
j PS Form 381 1 , July 2015 PSN 7530-02-000*90®                                                            Domestic Return Receipt
                   Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 19 of 23

              USPS TRACKING#
                      >           m                                                   First-Class Mail
                                                                                      Postage & Fees Paid


   9590940244248248900337
  1510
                   -T2>

                          "A24S 1003 37
                                                                                      USPS
                                                                                      Permit No. G-10




United States             • Sender: Please print your name, address, and ZIP+4® in this box4
Postal Service

          -




         HLE0 IN Office                 MARIE ADAMS, CLERK
     CIRCUIT cm DiVrs:JW0if 400 JEFF CO COURTHOUSE
                                 716 Richard arrjngton jr blvd., no,
         «£ 0 7 ; 113            BIRM NfiHAM, ALABAMA 3F>03
      ANNfc-MARIEl ADAMS
                 CLERK
     Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 20 of 23




                IN THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIV1SON

JEREMY R. TOUMEY,


       Plaintiff,


v.
                                                    CIVIL ACTION NO.


BIRMINGHAM URBAN AIR,
LLC, et al.


         Defendants.



                      AFFIDAVIT OF TOM ANDREW DUNCAN


         Belore me, the undersigned notary public, personally appeared Tom Andrew


Duncan, who deposes and says as follows:


          1.    My name is Tom Andrew Duncan, I am an adult over the age of


nineteen (19) years, and 1 have personal knowledge of the facts and matters stated


herein.


           >    I am a resident and citizen of Miller County, Arkansas.


         3.     The sole members of Birmingham Urban Air, LLC, are Tom Andrew


Duncan and Terri Little.


FUR! HER AFFIANT SAYETH NOT.




                    I This portion of the page is intentionally left blank.]




                                                                                     EXHIBIT


                                                                                     L
 Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 21 of 23




                                             j'jm jj U/jAM/U/^
                                             TOM ANDREW DUNCAN


STATE OF ARKANSAS                 )


COUNTY OF A/U\ir                  )

       I, the undersigned Notaiy Public in and for said County in said State, hereby
certify that Tom Andrew Duncan, whose name is signed to the foregoing
instrument and who is known to me, acknowledged before me on this day that,
being informed of the contents of said instrument, he executed the same voluntarily
on the same date the same bears date.


Given under my hand and official seal on this       day of DccfVhka; 20 I %



         OFFICIAL SEAL - #12695302                      L_
         KOBEY RYAN MABRY                       Tl ARY POIILIC
           NOTARY PUBLIC-ARKANSAS
               MILLER COUNTY
        MY COMMISSION EXPIRES 08-20-25       My Commission Expires: OS ~A) 'JOJ V




                                         2
        Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 22 of 23



              IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISON


JEREMY R. TOUMEY,


     Plaintiff,


v.                                               CIVIL ACTION NO.


BIRMINGHAM URBAN AIR,
LLC, et al.


       Defendants.



                          AFFIDAVIT OF TERRI LITTLE


       Before me, the undersigned notary public, personally appeared Terri Little,


who deposes and says as follows:


       1.     My name is Terri Little, I am an adult over the age of nineteen (19)


years, and I have personal knowledge of the facts and matters stated herein.


       2.     I am a resident and citizen of Caddo Parish, Louisiana.


       3.     The sole members of Birmingham Urban Air, LLC, are Tom Andrew

Duncan and Terri Little.


FURTHER AFFIANT SAYETH NOT.




                  [This portion of the page is intentionally left blank.]
                                                                               EXHIBIT
                                             1


                                                                            t V
       Case 2:19-cv-00012-KOB Document 1-1 Filed 01/03/19 Page 23 of 23




                                             TERRI ffiSS

STATE OF LOUISIANA              )


PARISH OF                       )

      I, the undersigned Notary Public in and for said Parish in said State, hereby
certify that Terri Little, whose name is signed to the foregoing instrument and who
is known to me, acknowledged before me on this day that, being informed of the
contents of said instrument, she executed the same voluntarily on the same date the
same bears date.


Given under my hand and official seal on this 3 1 day off)C(F.      , 20 $ .
                                             Smm MqmJ 1
                                             NOTARY PUBLIC


                                             My Commission Expires: \J±        M




                                         2
